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                   EXHIBIT C
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             IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                               CIVIL DIVISION

 JANE DOE,
                Plaintiff,                                     2023 CAB 002577
        v.
                                                               Judge Yvonne Williams
 LYFT, INC., et al.,
              Defendants.

   ORDER GRANTING PLAINTIFF’S MOTION TO EXTEND TIME FOR SERVICE
                UPON DEFENDANT NAOUFAL JELLALI

       Before the Court is Plaintiff’s Motion to Extend Time for Service Upon Defendant Naoufal

Jellali (the “Motion”), filed June 26, 2023. For the following reasons, the Motion shall be

GRANTED. The Court shall also continue the Remote Initial Scheduling Conference set in this

matter to September 29, 2023 at 9:30 a.m.

       This matter arises out of a sexual assault allegedly perpetrated by Defendant Naoufal

Jellali, a Lyft Driver, while Plaintiff was on an active Lyft ride. Motion at 1. On April 27, 2023,

Plaintiff filed her Complaint through which she asserted several claims against Defendant Jellali

as well as Defendant Lyft, Inc. See generally Complaint. Pursuant to Rule 4 of the Superior Court

Rules of Civil Procedure, Plaintiff initially had 60 days from the filing of the Complaint to

effectuate service on Defendants, or by June 26, 2023. Super. Ct. Civ. R. 4 (m)(1)(A). On June

26, 2023, Plaintiff filed an Affidavit of Service which indicates that Defendant Lyft, Inc. was

served with process on June 21, 2023.

       Also on June 26, 2023, Plaintiff filed the instant Motion requesting a 60-day extension of

her deadline to serve Defendant Jellali, or until August 25, 2023. Motion at 1, 3. In support,

Plaintiff submits that she has been unable to effectuate service on Defendant Jellali despite

repeated attempts to do so. For example, Plaintiff submits that her process server visited the


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condominium complex where Defendant Jellali was last known to reside only to discover that he

no longer resides there. Id. ¶¶ 5-6. Plaintiff’s process server also attempted to find Defendant

Jellali’s new address through certain database systems but was unable to do so.              Id. ¶ 7.

Additionally, Plaintiff’s counsel contacted the investigating detective in a criminal case pending

against Defendant Jellali to attempt to find his contact information “to no avail.” Id. ¶ 9. Plaintiff

submits that if the Motion is granted, she will “continue to attempt to effect service upon Defendant

Jellali.” Id. ¶ 10.

        If a plaintiff files a motion for an extension of time to serve prior to the expiration of the

period for service, Rule 4(m)(2) requires the Court to grant the motion on a showing of “good

cause” for the extension. Super. Ct. Civ. R. 4(m)(2). To show “good cause,” the plaintiff generally

must establish both reasonable diligence in attempting to serve the defendant within the 60-day

period and a reasonable prospect that service can be obtained in the future. See Baba v. Goldstein,

996 A.2d 799, 803 (D.C. 2010); Bulin v. Stein, 668 A.2d 810, 814 (D.C. 1995); Cameron v. Wash.

Metro. Area Transit Auth., 649 A.2d 291, 294 (1994). Based on the representations made in the

Motion, the Court finds that Plaintiff has undergone diligent efforts to serve the individual

Defendants despite being unable to do so. Moreover, Plaintiff’s stated intention to continue

attempting to effectuate service on Defendant Jellani convinces the Court—at least at this

juncture—that service can be obtained in the future. Thus, for good cause shown, the Court shall

grant the Motion. The deadline for service in this matter shall be extended by 60 days to August

25, 2023. The Court shall accordingly continue the Remote Initial Scheduling Conference set in

this matter to September 29, 2023 at 9:30 a.m.

        Accordingly, it is this 27th day of June, 2023, hereby,




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        ORDERED that Plaintiff’s Motion to Extend Time for Service Upon Defendant Naoufal

Jellali is GRANTED; and it is further

        ORDERED that Plaintiff has until August 25, 2023 to effectuate service on Defendant

Jellali; and it is further

        ORDERED that the Remote Initial Scheduling Conference scheduled for August 18, 2023

shall be VACATED; and it is further

        ORDERED that the Parties shall appear for a Remote Initial Scheduling Conference on

September 29, 2023 at 9:30 a.m.

        IT IS SO ORDERED.



                                                     _____________________
                                                     Judge Yvonne Williams

Date: June 27, 2023


Copies to:


Joseph Cammarata
joe@dc-law.net
Kayaan S. Chambers
chambers@dc-law.net
Counsel for Plaintiff

Lyft, Inc.
c/o CT Corporation System
105 15th Street NW, Suite 1000
Washington, DC 20005
Defendant

Naoufal Jellali
3701 S. George Mason Dr.
Unit 2201N
Falls Church, VA 22041
Defendant


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